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 4
                                  UNITED STATES DISTRICT COURT
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                                        DISTRICT OF NEVADA
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 7
     UNITED STATES OF AMERICA,            )
 8                                        )               NO. 15-10362
                                          )
 9                   Plaintiff-Appellee,  )
               vs.                        )               2:13-cr-00257-LDG-PAL
10                                        )
   DELFINO SOLORZANO                      )
11                                        )
                     Defendant-Appellant. )                ORDER
12 ____________________________________)
13
            Pursuant to the order filed August 26, 2015, by the Ninth Circuit Court of Appeals directing
14
     the appointment of counsel for appellant, IT IS HERE BY ORDERED that William H. Gamage is
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     appointed to represent Delfino Solorzano for this appeal. Mr. Gamage’s address is 5580 S. Fort
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     Apache., Suite 110, Las Vegas, NV 89148 and his phone number is 702-386-9529.
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          Former counsel, Dustin R. Marcello is directed to forward the file to Mr. Gamage
18 forthwith.
19       The clerk is directed to forward a copy of this order to the Clerk of the 9th Circuit Court of
20 Appeals at counselappointment@ca9.uscourts.gov.
21          DATED this      day of September, 2015.
            Nunc Pro Tunc Date: August 31, 2015
22
23                                                        _______________________________
                                                          UNITED STATES DISTRICT JUDGE
24                                                        LLOYD D. GEORGE
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